    Case 16-13291-MBK                Doc 172    Filed 06/12/19 Entered 06/12/19 15:06:16                     Desc Main
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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY

       Albert Russo
       CN 4853
       Trenton, NJ 08650                                                                    Order Filed on June 12, 2019
                                                                                                      by Clerk
       (609) 587-6888                                                                          U.S. Bankruptcy Court
                                                                                               District of New Jersey
       Standing Chapter 13 Trustee




       In re:

       Michael Joseph Agolia
                                                                 Case No.: 16-13291 / MBK
       Lisa Rossi
                                                                 Judge: Michael B. Kaplan
                                         Debtor(s)
                                                                 Chapter: 13




                                      ORDER REGARDING CHAPTER 13 STANDING
                                         TRUSTEE'S MOTION TO DISMISS OR
                                           CERTIFICATION OF DEFAULT

                The relief set forth on the following page is ORDERED.




DATED: June 12, 2019
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     This matter having come before the Court on the Trustee's Certification of Default, and good cause
 having been shown, it is


     ORDERED that the case is dismissed.



     IT IS FURTHER ORDERED that, pursuant to 11 U.S.C. § 349(b), this court for cause

 retains jurisdiction over any application filed within 14 days of the date of this order by any
 administrative claimant for funds on hand with the Chapter 13 Standing Trustee.


     IT IS FURTHER ORDERED that any funds held by the Chapter 13 Trustee from payments made

 on account of the debtor(s) plan shall be disbursed to creditors.



     IT IS FURTHER ORDERED that any Order to Employer to Pay to the Chapter 13 Trustee (wage

 order) that has been entered in this case is hereby terminated.     The employer is authorized to cease wage
 withholding immediately.       The debtor or debtor(s) counsel is hereby authorized to serve this Order upon
 the appropriate parties.
